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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA                              :
                                                      :
                  v.                                  :   No. 18 CR 48
                                                      :
EDWARD BASES and                                      :   Judge John Z. Lee
JOHN PACILIO,                                         :
                                                      :
                           Defendants.                :
------------------------------------------------------x

                       UNOPPOSED JOINT MOTION FOR LEAVE TO
                      WAIVE INDIVIDUAL DEFENDANT APPEARANCES

        Defendants Edward Bases and John Pacilio, by and through their undersigned counsel,

respectfully move the Court for the entry of an Order permitting each of them to waive his

appearance at the status hearing on January 16, 2020 (the “Proceeding”). Counsel for the

defendants have conferred with counsel for the government, who consent to the waiver of Mr.

Bases’ and Mr. Pacilio’s appearances at the Proceeding.

        In making this request, each defendant understands the seriousness of the charges and the

importance of proceedings before the Court. As the Court is aware, however, each defendant

resides in Connecticut and would have to travel to Chicago in order to attend the Proceeding, which

is relatively non-substantive in nature.

        Prior to making this motion, undersigned counsel informed each defendant that he may

attend the Proceeding, and that he has the right to be present at critical stages in his criminal

prosecution.     In addition, counsel has explained the advantages of being present and the

disadvantages of being absent from court proceedings related to his case. Having consulted fully
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with counsel, each defendant has informed counsel that he waives any right he may have to be

present at the Proceeding.

       WHEREFORE, defendants Edward Bases and John Pacilio respectfully request that they

be permitted to waive their appearances at the Proceeding.


   Dated: January 9, 2020                                    Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 9, 2020, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will provide notice of the filing to counsel for

the government.


                                             By: /s/
                                                Sean S. Buckley




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